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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS




UNITED STATES OF AMERICA

VS.                           CASE NO. 4:02CR00170 JMM

NATHAN ALLEN ROBINSON

                                            ORDER

       Pending before the Court is defendant’s Motion to be Released From Supervised Release.

For the reasons stated below, the motion is denied (#295).

       On May 8, 2003, the Court entered a judgment and commitment which sentenced

defendant to 46 months incarceration with the Bureau of Prison with 4 years of supervised

release to follow. On September 22, 2003, the Court granted the government’s motion for a

downward departure and reduced defendant’s sentence to 23 months imprisonment with all other

provisions of the May 8, 2003 judgment and commitment remaining in effect.

       Defendant has completed his term of imprisonment and approximately 2 years and 9

months of his supervised release. Defendant seeks early release from his sentence of supervised

release because he believes he is no longer in need of supervision. The government opposes the

request and contends that the term of supervised release is part of a defendant’s sentence which

should be completed in full. The United States Probation Office and defendant’s supervising

officer concur with the government’s position.

       Under 18 U.S.C. § 3583(e)(1) the Court may terminate a term of supervised release in

which the defendant has already served at least one year of the supervision. In so doing the Court


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must consider the factors set forth in 18 U.S.C. § 3553(a) and be “satisfied that such action is

warranted by the conduct of the defendant released and the interest of justice.” 18 U.S.C. §

3583(e)(1).

        After considering § 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and

(a)(7), the Court concludes that termination of defendant’s supervised release would not be in the

interest of justice.

        IT IS SO ORDERED THIS 3 day of January , 2008.




                                                       James M. Moody
                                                       United States District Judge




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